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IN THE UNITED sTATEs DISTRICT COURT F“'ED m ~CZQ“
FOR THE WESTERN DISTRICT 0F TENNESSEE ,
WESTERN DIVISION 05 AUG -3 AH 8 52
WOWS-M.-QQUD
U.S. DLSTF§CT CUM
DONALD R. DePRIEsT, w GF z.»iiv-PH\S
Plaintiff,
v. Civil Action No. 02-2177 Ml/An
ELLEN H. HARDYMON, and
MSB FrNANClAL SERVICES
CORPORATION,
Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION OF TIME
TO RESPOND TO DEFENDANT MSB FINANCIAL SERVICES
CORPORATION’S MOTION FOR ATTORNEYS’ FEES

 

BEFORE THE COURT is Plaintiff‘ s Motion for Extension of Tirne to Respond to Defendant
MSB Financial Services Corporation’s Motion for Attorneys’ Fees.

THE COURT FlNDS that the Motion is Well taken, and the Motion is GRANTED. IT IS
HEREBY ORDERED that the Plaintiff has to and including Monday, August 15, 2005, to respond
to Defendant MSB Financial Services Corporation’s (renewed) Motion for Attorneys’ Fees.

SO 0RDERED this the 621 day ofAugust, 2005.

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TED STATES DISTRICT JUDGE

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with Ru\e 58 andfor?§{a) FHCP on g §§ Q l

 

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This notice confirms a copy ot` the document docketed as number 91 in
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Honorable J on McCalla
US DISTRICT COURT

